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                                                                       FILED
                                                                U.S. DISTRICT COURT
                                                                   AUGUSTA DIV.
                 IN THE UNITED STATES DISTRICT COURT F0{^2IF19V -b              P I2*
                         SOUTHERN DISTRICT OF GEORGIA
                                   DUBLIN DIVISION                  \ i\
                                                            i^LcRnJiJj._.nCC
                                           ★                     SO. DiST. U>    A.
DAVID JAMAL WALKER,
                                           *
                                           'k
     Petitioner,
                                           "k

                                           -k              CV 320-013
           V ●
                                           k
                                                     {Formerly CR 317-005)
                                           k
UNITED STATES OF AMERICA,
                                           k

                                           k
     Respondent.


                                        ORDER


     Before the Court is Petitioner David Jamal Walker's motion for

reconsideration.         (Doc. No. 12.)         Petitioner begins by requesting

reconsideration of the Court's September 14, 2020 Order (doc. no. 10)

adopting   the         United     States   Magistrate     Judge's      Report           and

Recommendation (doc. no. 8) that the petition be dismissed.                 However,

Petitioner seeks a different form of relief.

     Petitioner pleaded guilty to one count of violation of 18 U.S.C.

§ 922(g)(1) on November 9, 2017.                Section 922(g)(1) prohibits any

person convicted        of   a   felony from possessing     a   firearm.        He      was

sentenced on January 9, 2018.

     In 2019, the United States Supreme Court decided Rehaif v. United

States, 139 S. Ct. 2191 (2019), in which it held that in Section
                 w
922(g) cases         the Government must prove both that the defendant knew

he possessed a firearm and that he knew he belonged to the relevant
                                                                  ft
category of persons barred from possessing a firearm.                  Id. at 2200.

Before   this     decision,      the   Government   did   not   have   to   prove         a
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defendant's knowledge of his or her prohibited person status.                                   The


Eleventh Circuit later recognized that Rehaif was not made to apply

retroactively.          See In Re Palacios, 931 F.3d 1314, 1315 (11th Cir.

2019).

        The    present motion       highlights        a     case   from the      Fourth   Circuit

with a pending petition for certiorari.                         See United States v. Gary,

954 F.3d 194 (4th Cir. 2020).                  The Court of Appeals in Gary vacated

a conviction for a Section 922(g)(1) violation premised on a guilty

plea.     See id. at 208.           It did so because the district court failed


to inform the defendant that the Government was required to prove his

intent with respect to both his possession of a firearm and his status

as a prohibited person.             See id. at 201-02.


        With    the    petition     for    certiorari          pending    before    the   Supreme

Court in Gary, Petitioner filed the instant motion.                              It essentially

alerts the      Court to the         Gary case        and      requests that any potential

Section       2255    claim   based       on   Gary    following         the   Supreme    Court's

treatment      of     the   case   be   preserved         in   this   Court.       To   that   end.

Petitioner's         motion   is   premature.          Otherwise,        Petitioner's      motion


does not set forth any grounds for reconsideration relief under Rules

59 or 60.        Therefore,        Petitioner's motion (doc.               no.   12) is DENIED

WITHOUT PREJUDICE.


        ORDER ENTERED at Augusta, Georgi                                       day of November,

2020.




                                                      UNITED STA         S DISTRICT JUDGE


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